Case 1:19-cv-01437-CMA-NRN Document 140 Filed 04/13/21 USDC Colorado Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge Christine M. Arguello


   Civil Action No. 19-cv-01437-CMA-NRN

   LANDON MONDRAGON,

          Plaintiff,

   v.

   NOSTRAK LLC,

          Defendant.
   ____________________________________________________________________________

                                      ORDER OF DISMISSAL


          THIS MATTER is before the Court on the parties’ Joint Motion to Dismiss (Doc. # 139).

   The Court having reviewed the file and being fully advised in the premises, hereby

          ORDERS that this action be DISMISSED WITH PREJUDICE against Mondragon’s

   counterclaims and WITHOUT PREJUDICE against Moore’s counterclaims.

          DATED: April 13, 2021

                                                              BY THE COURT:



                                                              _________________________
                                                              CHRISTINE M. ARGUELLO
                                                              United States District Judge
